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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 9REN HOLDING S.A.R.L.,

                Plaintiff,

         v.                                                     Civil Action No. 19-1871 (TSC)

 KINGDOM OF SPAIN,

                Defendant.


                                            ORDER

       For the reasons set forth in the April 19, 2023 motions hearing, Plaintiff’s Motion for

Contempt and Sanctions, ECF No. 68, is hereby DENIED; and Defendant’s Motion for a Stay of

the Proceedings and a Stay of the Preliminary Injunction Pending Appeal, ECF No. 69, is hereby

DENIED.



Date: April 20, 2023

                                                 Tanya S. Chutkan
                                                 TANYA S. CHUTKAN
                                                 United States District Judge




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